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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

EL-AMIN MUHAMMAD #242898,

       Plaintiff,                                   Case No. 1:16-cv-276

v.                                                  HON. JANET T. NEFF

                                                    MAGISTRATE RAY KENT
KYLE A. NEHER, d/b/a DET KYLE
A. NEHER, MICHAEL KASHER d/b/a
DET. MICHAEL D. KASHER, OFFICER
JOHN DOE alternate transport officer (NSPD),
(MSP) OFFICER JOHN DOE, DARRYL HAIRSTON
d/b/a (MCJ) DEPUTY DARRYL HAIRSTON,
ELAINE (DOE) d/b/a RN NURSE ELAINE (DOE)
last name unknown (MCJ),

       Defendants.


     DEFENDANTS’ MICHAEL D. KASHER’S AND KYLE A. NEHER’S RESPONSE IN
  OPPOSITION TO PLAINTIFF’S MOTION REQUESTING COURT TO APPOINT EXPERT
         IN ACCIDENT RECONSTRUCTION BY PLAINTIFF’S NOMINATION
 PURSUANT TO F.R.E. 706 [ECF NO. 148] AND MOTION FOR ORDER FOR A PHYSICAL
        EXAMINATION BY A QUALIFIED M.D. DOCTOR WHO SPECIALIZES
  IN MAGNETIC RESONANCE IMAGING (MRI) AND COMPUTED TOMOGRAPHY (CT)
    SCANS AND PURSUANT TO F.R.C.P. RULE 35(a)(1), (2)(A)(B)… [ECF NO. 149]


       Defendants Kyle A. Neher (“Neher”) and Michael D. Kasher (“Kasher”), by and

through their attorneys, Plunkett Cooney, for their Response in Opposition to Plaintiff’s

Motion Requesting Court to Appoint Expert in Accident Reconstruction by Plaintiff’s

Nomination Pursuant to F.R.E. 706 [ECF NO. 148] and Motion for Order for a Physical

Examination by a Qualified M.D. Doctor who Specializes in Magnetic Resonance Imaging

(MRI) and Computed Tomography (CT) Scans and Pursuant to F.R.C.P. Rule 35(a)(1),

(2)(A)(B) … [ECF NO. 149], states as follows:

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         Pursuant to this Court’s Order dated April 18, 2018 [ECF No. 139], no response is

required, as this Court stayed all proceedings in this matter pending further order of this

Court.

         Accordingly, in the event this Court finds it appropriate to reinstate this matter,

Defendants Kyle A. Neher and Michael D. Kasher respectfully request that this Court allow

them 30 days from the date of the entry of the order reinstating this matter to reply to the

following motions and discovery requests served upon Defendants Kyle A. Neher and

Michael D. Kasher:

         a)    Motion Applying for Injunctive Relief Against the “Person” as to Official
               Capacity as to Detective Kyle A. Neher and Detective Michael D. Kasher under
               Color of State Law for Deprivation of Plaintiff 8th Amendment Protected
               Constitutional Federal Right Pursuant to F.R.C.P. Rule 65(a) and Norton
               Shores Police Department [ECF No. 134], as amended by the Amended
               Motion Applying for Injunctive Relief Against the “Person” as to Official
               Capacity as to Detective Kyle A. Neher and Detective Michael D. Kasher under
               Color of State Law for Deprivation of Plaintiff 8th Amendment Protected
               Constitutional Federal Right Pursuant to F.R.C.P. Rule 65(a) and Norton
               Shores Police Department [ECF No. 142];

         b)    Amended Discovery Request for Production of Documents to Neher & Kasher
               pursuant to FRCP Rule 34(a) and FRE Rule 401 and 402;

         c)    Plaintiff’s Interrogatories to both Defendants Michael D. Kasher and Kyle A.
               Neher Pursuant to FRCP Rule 33(a)(1), (2), (b)(1)(2)(3)(4)(5) and (c), (d);

         d)    Plaintiff’s request for Admissions for Defendants Michael D. Kasher and Kyle
               A. Neher individually and pursuant to FRCP Rule 36;

         e)    Plaintiff’s Motion Requesting Court to Appoint Expert in Accident
               Reconstruction by Plaintiff’s Nomination Pursuant to FRE 706 [ECF No. 148];

         f)    Plaintiff’s Motion for Order for a Physical examination by a Qualified M.D.
               Doctor who Specializes in Magnetic Resonance Imaging (MRI) and Computed
               Tomography (CT) Scans and Pursuant to FRCP 35(a)(1)(2)(A)(B) [ECF No.
               149]; and

         g)    Plaintiff’s Discovery Request to Enter onto Land for Inspection and other
               purposes pursuant to FRCP 34.
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                                   Respectfully submitted,

DATED: May 8, 2018                 PLUNKETT COONEY


                                   BY:__/s/ Lisa A. Hall
                                          Lisa A. Hall (P70200)
                                          Attorney for Defendant Kyle A. Neher and
                                          Michael D. Kasher


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